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                                                                  THIS STORY HAS BEEN FORMATTED FOR EASY PRINTING




                  Doctor accused of faking studies
His work dealt with pain drugs
By Liz Kowalczyk, Globe Staff | March 11, 2009

A widely known Massachusetts anesthesiologist whose research has influenced how doctors treat surgery
patients for pain has been accused of fabricating results in at least 21 published studies and, in some cases, even
inventing patients.

Physicians and journal editors said the allegations, if proven, could constitute one of the largest and longest-
running cases ever of medical research fraud.

Dr. Scott S. Reuben, who works at Baystate Medical Center in Springfield, has published dozens of articles on
"multimodal analgesia," an important and emerging area of anesthesiology involving use of more than one type of
drug to relieve post-surgical pain and foster faster recovery.

Last May, during a routine review of research summaries that were to be presented at the hospital's research
week, physicians discovered that the research Reuben intended to present had not been approved by an internal
hospital review board that oversees research on patients, Dr. Hal Jenson, Baystate's chief academic officer, said
yesterday.

That discovery led to a full-scale investigation by the hospital, which was completed in January. The investigation
uncovered 21 published papers over 13 years in which Reuben made up some or all of the data, Jenson said.

Jenson said that in many cases "there was no clinical trial because there were no patients."

The hospital notified several medical journals about the results of its investigation, and the journals are in the
process of retracting Reuben's papers, said Jenson.

"This would be the largest research fraud in anesthesia," said Dr. Steven Shafer, editor of the journal Anesthesia
and Analgesia. "Doctors have been using [his] findings very widely. His findings had a huge impact on the field.
The act of fabricating data is so difficult for me to comprehend. It's beyond my ability to imagine."

Baystate said Reuben cooperated in the investigation, but would not say whether he admitted to the allegations.
He has been on medical leave from Baystate since last spring.

His attorney, Ingrid Martin of Boston, said yesterday that she could not comment on the investigation or on
whether her client admitted to the allegations.

"The proceeding that was carried out by Baystate was peer review and was privileged and confidential, and I am
endeavoring to keep it that way," she said. "I can confirm he cooperated fully with the peer review and that there
were extenuating circumstances that the committee fairly and justly considered."

Martin said Reuben "deeply regrets that all of this happened and, with the committee's guidance, is taking steps
to make sure it never happens again."

According to the state board that licenses doctors, Reuben graduated from medical school at the State University
of New York at Buffalo in 1985 and did his anesthesiology residency at Mount Sinai Medical Center in New York.
The board would not comment on whether it is investigating Reuben.
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Dr. Greg Koski, an anesthesiologist at Massachusetts General Hospital and former director of the federal Office
for Human Research Protections, said the case is unusual, not because of the number of journal articles involved,
but because of the number of years the deception is alleged to have gone on.

"That's what makes this so remarkable," he said. ". . It seems to have gone on for so long without being detected
by the peer review process. It's hard to fake something for that long. Pain research is not an obscure area; people
look at it all the time."

In some instances, the studies in question involved data about drugs made by pharmaceutical giant Pfizer Inc.,
including Celebrex, Lyrica, and Neurontin. The company gave Reuben five research grants between 2002 and
2007, and he was a member of Pfizer's speakers bureau, in which physicians give talks about Pfizer drugs to
colleagues.

Company spokeswoman Sally Beatty said the clinical trials that led the US Food and Drug Administration to
approve Celebrex and Lyrica for pain did not include Reuben's research. Celebrex was approved to treat acute
pain, including that following surgery, in 2001. Lyrica is not approved for the treatment of acute pain, but doctors
can use the drug for that purpose "off-label." The company's statement did not address Neurontin.

"It is very disappointing to learn about Dr. Scott Reuben's alleged actions," Pfizer said in a statement, adding that
the company was "not involved in the conduct of any of these independent studies or in the interpretation or
publication of the study results."

The fraud allegations were first reported this week by Anesthesiology News.

Although Reuben often co-wrote papers with other researchers, Jenson said Baystate found that the other
researchers did not know about or participate in the alleged fabrications.

In a Feb. 20 letter to readers posted online, Shafer said his journal will publish formal retractions of Reuben's
studies published in Anesthesia and Analgesia in May.

Anesthesiologists agreed there will be an impact on the field, but disagreed over how significant it would be.

Dr. James Rathmell, chief of the Massachusetts General Hospital pain clinic, said the effect is unknown.

"He had some important findings that were very encouraging to all of us," he said. But, he said, many other
researchers have published positive results for Celebrex and other Cox-2 inhibitors for treatment of surgical pain.
More in question, he said, is Reuben's idea of adding Lyrica and Neurontin to the mix. "He's done the few studies
in that area," Rathmell said.

Shafer, however, said researchers and physicians are going to reexamine the literature and may have to repeat
clinical trials. "We have to be open to the possibility there was patient injury," he said, despite the relative safety of
the drugs in question. "Nothing is without risk."

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http://www.boston.com/news/health/articles/2009/03/11/doctor_accused_of_faking_studies?mode=PF
